Case 2:24-cv-07635-JKS-LDW   Document 31-1   Filed 09/17/24   Page 1 of 13 PageID:
                                    288




                             EXHIBIT 1
Case 2:24-cv-07635-JKS-LDW      Document 31-1    Filed 09/17/24   Page 2 of 13 PageID:
                                       289



                 IN THE UNITED STATES DISTRICT COURT
                     IN THE DISTRCT OF NEW JERSEY

  Dale Ylitalo, individually and on behalf of
  all others similarly situated,

                       Plaintiff,

  v.                                            Case No. 2:24-cv-7635-JKS-LDW

  Automatic Data Processing, Inc., ADP, Inc.,
  and American Century Investments
  Services, Inc.,

                       Defendants.



  MEMORANDUM OF LAW IN SUPPORT OF MOTION OF DALE YLITALO
     FOR APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF
                         COUNSEL
Case 2:24-cv-07635-JKS-LDW     Document 31-1     Filed 09/17/24   Page 3 of 13 PageID:
                                      290



        Plaintiff Dale Ylitalo (“Ylitalo”) respectfully submits this memorandum of

 law in support of his motion pursuant to the Private Securities Litigation Reform

 Act of 1995 (“PSLRA”), 15 U.S.C. § 78u-4(a)(3)(B), for an order: (1) appointing

 Ylitalo as lead plaintiff pursuant to Section 21D of the Securities Exchange Act of

 1934, as amended by the Private Securities Litigation Reform Act of 1995 (the

 “PSLRA”); (2) approving Ylitalo’s selection of Federman & Sherwood (“F&S”) as

 Lead Counsel and Kantrowitz, Goldhamer & Graifman, P.C. as Liaison Counsel

 for the class; and (3) granting such other relief as the Court may deem to be just

 and proper.

 I.     PRELIMINARY STATEMENT

        This is a class action on behalf of persons, who own and operate their own

 business, from the date of filing to three years prior thereto (the “Class Period”),

 and purchased or otherwise acquired for themselves a SIMPLE IRA from ADP,

 Inc. (“ADP”), the funds for which were immediately directed into one of American

 Century Investments, Inc.’s (“ACI”) One Choice Target Date Portfolios (“One

 Choice”) which are ”Fund of Funds” (“FOF”), at the time of sale of the SIMPLE

 IRA.

        The PSLRA provides that the Court shall appoint the “most adequate

 plaintiff”—i.e. the plaintiff most capable of adequately representing the interests

 of class members—as lead plaintiff, and provides a presumption that the movant


                                          1
Case 2:24-cv-07635-JKS-LDW      Document 31-1      Filed 09/17/24   Page 4 of 13 PageID:
                                       291



 with the largest financial interest in the relief sought by the class who satisfies the

 requirements of Rule 23 of the Federal Rules of Civil Procedure (“Rule 23”) is the

 most adequate plaintiff.

       Ylitalo believes that he is the “most adequate plaintiff” as defined by the

 PSLRA and should be appointed as lead plaintiff based on his financial losses

 suffered as a result of Defendants’ wrongful conduct as alleged in the Complaint.

 In addition, for purposes of this motion, Ylitalo satisfies the relevant requirements

 of Rule 23 of the Federal Rules of Civil Procedure, as his claims are typical of other

 class members’ claims, and he is committed to fairly and adequately representing

 the interests of the class. Thus, pursuant to the PSLRA’s lead plaintiff provision,

 Ylitalo respectfully submits that he is presumptively the most adequate plaintiff

 and should be appointed as lead plaintiff for the class.

       Additionally, Ylitalo’s selection of Federman & Sherwood as lead counsel

 and Kantrowitz, Goldhamer & Graifman, P.C. as liaison counsel for the class

 should be approved because the firms have substantial expertise in securities class

 action litigation and the experience and resources to efficiently prosecute this

 action.




                                           2
Case 2:24-cv-07635-JKS-LDW     Document 31-1    Filed 09/17/24   Page 5 of 13 PageID:
                                      292



 II.   FACTUAL BACKGROUND 1

       ADP sells SIMPLE IRAs though its Small Business Services (“SBS”) sales

 representatives. These SBS sales representatives are not licensed as broker-dealers

 or as sales representatives under the Financial Industry Regulatory Authority

 (“FINRA”) or their respective states. Despite this, ADP – with the help, support,

 and approval of ACI and ADP’s parent company, Automatic Data Processing, Inc.

 (“Automatic”) – pays its unlicensed and unregistered SBS sales representatives

 bonuses and additional incentives to push and sell SIMPLE IRAs, the funds for

 which are automatically invested in ACI’s mutual funds.

       The complaint filed in this action alleges that throughout the Class Period,

 Defendants intentionally and knowingly misrepresent or otherwise omit the SBS’s

 sales representatives licensure status, registration status, compensation, and

 incentives. Defendants also know and allow SBS sales representatives to make

 material misrepresentations regarding the return rate on these SIMPLE IRAs.

 Based on these material misrepresentations and omissions, Plaintiff and the Class

 Members have purchased SIMPLE IRAs, the funds for which are immediately

 invested in ACI’s mutual funds. Had Plaintiff Ylitalo and the Class Members

 known of these misrepresentations and omissions, they would not have purchased




 1 This section as adapted from the allegations in the Complaint [ECF Doc. 1].


                                         3
Case 2:24-cv-07635-JKS-LDW       Document 31-1     Filed 09/17/24    Page 6 of 13 PageID:
                                        293



 SIMPLE IRAs, the funds for which are immediately invested in ACI’s mutual

 funds

 I.      PROCEDURAL HISTORY

         On July 9, 2024, Plaintiff Dale Ylitalo commenced this class action lawsuit

 against Automatic Data Processing, Inc, ADP, Inc., and American Century

 Investments Services, Inc. captioned Ylitalo v. Automatic Data Processing, Inc., et al.,

 Case No. 2:24-cv-07635-JSK-LDW. Ylitalo’s Complaint alleges violations of

 Sections 12(a)(2) and 15 of the Securities Act of 1933 (“Securities Act”) and Sections

 10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”) on behalf

 of investors that purchased shares between July 9, 2021 to present. The filing was

 announced on July 19, 2024.

 IV.     ARGUMENT

         A.    Ylitalo Should Be Appointed Lead Plaintiff

         The PSLRA provides the procedure for selecting a lead plaintiff in class

 actions brought under the federal securities laws. The PSLRA directs courts to

 consider any motion to serve as lead plaintiff filed by class members in response

 to a published notice of class action by the later of (i) 90 days after the date of

 publication of the notice; or (ii) as soon as practicable after the Court decides any

 pending motion to consolidate. 15 U.S.C. § 78u-4(a)(3)(B). The PSLRA provides a

 “rebuttable presumption” that the “most adequate plaintiff”—i.e., the plaintiff


                                            4
Case 2:24-cv-07635-JKS-LDW        Document 31-1    Filed 09/17/24   Page 7 of 13 PageID:
                                         294



 most capable of adequately representing the interests of the class—is the class

 member that:

        (aa) has either filed the complaint or made a motion in response to a
        notice . . . ;

        (bb) in the determination of the Court, has the largest financial
        interest in the relief sought by the class; and

        (cc) otherwise satisfies the requirements of Rule 23 of the Federal
        Rules of Civil Procedure.

 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). The presumption in favor of appointing a movant

 as lead plaintiff may be rebutted only upon proof “by a purported member of the

 plaintiff class” that the presumptively most adequate plaintiff:

        (aa) will not fairly and adequately protect the interest of the class; or

        (bb) is subject to unique defenses that render such plaintiff incapable
        of adequately representing the class.

 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II).

        As set forth below, Ylitalo satisfies all of the PSLRA criteria and has

 complied with all of the PSLRA’s requirements for appointment as lead plaintiff.

 Ylitalo has, to the best of his knowledge, the largest financial interest in this

 litigation and meets the relevant requirements of Federal Rule of Civil Procedure

 23. In addition, Ylitalo is not aware of any unique defenses Defendants could raise

 against him that would render him inadequate to represent the class. Accordingly,

 Ylitalo respectfully submits that he should be appointed lead plaintiff.

               1.     Ylitalo is Willing to Serve as Class Representatives

                                            5
Case 2:24-cv-07635-JKS-LDW        Document 31-1     Filed 09/17/24    Page 8 of 13 PageID:
                                         295



       Ylitalo has made a timely motion in response to a PSLRA early notice. On

 July 19, 2024, pursuant to Section 21D(a)(3)(A)(I) of the PSLRA, notice was

 published in connection with this action. See Declaration of William B. Federman

 (“Federman Decl.”), Ex. A. Therefore, Ylitalo had sixty days (until September 17,

 2024) to file a motion to be appointed as lead plaintiff. As a purchaser of securities

 during the Class Period, Ylitalo is a member of the proposed class and has hereby

 timely filed a motion for appointment as lead plaintiff within sixty days of the

 notice, in compliance with the PSLRA. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(aa).

       Additionally, as set forth in her PSLRA certification, Ylitalo attests that he

 has reviewed the Complaint, adopts the allegations therein, and is willing to serve

 as representatives of the class. Federman Decl., Ex. B. Accordingly Ylitalo satisfies

 the first requirement to serve as lead plaintiff for the class.

              2.     Ylitalo Has the Largest Financial Interest in the Relief
                     Sought by the Class

       The PSLRA requires a court to adopt the rebuttable presumption that “the

 most adequate plaintiff . . . is the person or group of persons that . . . has the largest

 financial interest in the relief sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii).

 To determine which plaintiff has the largest financial loss, the Third Circuit has

 explained:

       In many cases . . . this determination will be relatively easy, but in
       others it may prove difficult. The [PSLRA] provides no formula for
       courts to follow in making this assessment, but we agree with the

                                             6
Case 2:24-cv-07635-JKS-LDW        Document 31-1      Filed 09/17/24    Page 9 of 13 PageID:
                                         296



        many district courts that have held that courts should consider,
        among other things: (1) the number of shares that the movant
        purchased during the putative class period; (2) the total net funds
        expended by the plaintiffs during the class period; and (3) the
        approximate losses suffered by the plaintiffs.

 In re Cendant Corp. Litig., 264 F.3d 201, 262 (3d Cir. 2001). “The Third Circuit has

 concluded that ‘largest financial interest’ means the largest loss.” Roby v. Ocean

 Power Techs., Inc., No. 14-3799, 2015 WL 1334320, at *5 (D.N.J. Mar. 17, 2015) (citing

 In re Cendant Corp. Litig., 264 F.3d at 223); see also In re Able Labs. Sec. Litig., 425 F.

 Supp. 2d. 562, 567 (D.N.J. 2006) (same). To that end, district courts within the Third

 Circuit “have accorded the third element, the largest financial loss, the greatest

 weight.” Roby, 2015 WL 1334320, at *5 (collecting cases).

       During the Class Period, due to Defendants’ misrepresentations, Ylitalo

 purchased a Simple IRA from ADP, which automatically invested portions of

 Ylitalo’s paychecks – to date, about $1,716.94 – into approximately 137,139 shares

 of ACI’s mutual funds. See Federman Decl., Ex. B. As stated above and contained

 in the Complaint, Ylitalo would not have purchased the SIMPLE IRA, the funds

 for which were immediately invested in ACI’s mutual funds, had he known of

 Defendants’ misrepresentations and omissions. To the best of his knowledge,

 Ylitalo is not aware of any other class member that has filed a motion for

 appointment as lead plaintiff who claims a larger financial interest. As such,

 Ylitalo believes he has the “largest financial interest in the relief sought by the


                                             7
Case 2:24-cv-07635-JKS-LDW        Document 31-1      Filed 09/17/24   Page 10 of 13 PageID:
                                          297



  class,” and thus satisfy the second PSLRA requirement to be appointed as lead

  plaintiff for the Class.

               3.     Ylitalo Satisfies the Requirement of Rule 23 of the Federal
                      Rules of Civil Procedure

        In addition to possessing a significant financial interest, a lead plaintiff must

  also “otherwise satisf[y] the requirements of Rule 23 of the Federal Rules of Civil

  Procedure.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). At this stage of the proceedings,

  Rule 23(a) generally requires that the claims of representative parties be typical of

  the claims of the class and that the representatives will fairly and adequately

  protect the interests of the class. See Fed. R. Civ. P. 23.

                      a.     Ylitalo’s Claims Are Typical

        A persons or entity is a typical class member “if the plaintiff, as a result of

  the same course of conduct, suffered the same injuries as the other class members,

  and their claims are based on the same legal issues.’” Lifestyle Investments, LLC v.

  Amicus Therapeutics, Inc., No. 15-7448, 2016 WL 3032684, at *5 (D.N.J. May 26,

  2016)).

        Here, Ylitalo’s claims are typical of the claims asserted by the proposed

  class. Like all members of the class, Ylitalo purchased a SIMPLE IRA from ADP,

  which automatically invested portions of his paycheck into ACI’s mutual funds,

  during the Class Period and suffered losses as a result of his transactions. Like all

  members of the class, Ylitalo alleges that Defendants violated federal securities

                                              8
Case 2:24-cv-07635-JKS-LDW         Document 31-1   Filed 09/17/24   Page 11 of 13 PageID:
                                           298



  laws    by    disseminating      materially   misleading     statements,     including

  misrepresentations and omissions regarding ADP’s SBS sales representatives

  licenses, registrations, compensation, and sale incentives and the SIMPLE IRAs’

  return rates. Ylitalo’s losses, like the losses suffered by all other members of the

  class, arise from Defendants’ alleged misrepresentations and omissions. If it were

  not for Defendants’ alleged misrepresentations and omissions, Ylitalo and the

  Class Members would not have purchased SIMPLE IRAs. Accordingly, Ylitalo’s

  interests and claims are typical of the interests and claims of the class.

                      b.     Ylitalo is an Adequate Representative

         The adequacy requirement is satisfied if “both the class representative and

  its attorneys are capable of satisfying their obligations, and neither has interests

  conflicting with those of other class members.” Id. at *7 (quoting In re Cendant Corp.

  Litig., 264 F.3d 201, 364–65).

         Here, Ylitalo easily satisfies the adequacy requirements. Ylitalo’s financial

  interest demonstrates that he has a sufficient incentive to ensure vigorous

  advocacy, and Ylitalo is not aware of any conflict between his claims and those

  asserted on behalf of the class. Moreover, Ylitalo has retained competent and

  experienced counsel with the resources and experience to effectively prosecute

  this action. See Federman Decl., Exs. C & D. Consequently, Ylitalo has




                                            9
Case 2:24-cv-07635-JKS-LDW       Document 31-1     Filed 09/17/24   Page 12 of 13 PageID:
                                         299



  demonstrated that he meets all the PSLRA’s requirements for a lead plaintiff, and

  his request for appointment as lead plaintiff should therefore be granted.

        C.     The Court Should Approve Lead Plaintiff’s Choice of Counsel

        The PSLRA vests authority in the lead plaintiff to select and retain lead

  counsel, subject to this Court’s approval. See 15 U.S.C. § 78u-4(a)(3)(B)(v). Here,

  Ylitalo has selected Federman & Sherwood as lead counsel and Kantrowitz,

  Goldhamer & Graifman, P.C. as liaison counsel for the class. The firms have

  successfully prosecuted numerous securities fraud class actions on behalf of

  injured investors. As reflected by the firms’ résumés, see Federman Decl., Exs. C &

  D, the Court may be assured that in the event their motion is granted, the members

  of the class will receive the highest caliber of legal representation. Accordingly, the

  Court should approve Ylitalo’s selection of counsel.

   V.   CONCLUSION

        For the foregoing reasons, Ylitalo requests that the Court grant her motion

  and enter an Order: (1) appointing Ylitalo as Lead Plaintiff, (2) approving

  Federman & Sherwood as Lead Counsel and Kantrowitz, Goldhamer & Graifman,

  P.C. as Liaison Counsel for the class; and (3) granting such other relief as the Court

  may deem just and proper.


  Dated: September 17, 2024               By: /s/William B. Federman
                                          William B. Federman*
                                          Jessica A. Wilkes*

                                            10
Case 2:24-cv-07635-JKS-LDW      Document 31-1      Filed 09/17/24   Page 13 of 13 PageID:
                                        300



                                        *Admitted Pro Hac Vice
                                        FEDERMAN & SHERWOOD
                                        10205 N. Pennsylvania Ave.
                                        Oklahoma City, OK 73120
                                        Telephone: (405) 235-1560
                                        Facsimile: (405) 239-2112
                                        wbf@federmanlaw.com
                                        jaw@federmanlaw.com

                                        Counsel for Lead Plaintiff Movant Larry
                                        Ylitalo and Proposed Lead Counsel for the
                                        Class

                            CERTIFICATE OF SERVICE

        I hereby certify that this Motion was filed through the ECF system and will

  be sent electronically to the registered participants as identified on the Notice of

  Electronic Filing (NEF), and paper copies will be sent to those indicated as non-

  registered participants on September 17, 2024.

                                        /s/ William B. Federman
                                        William B. Federman




                                          11
